
13 N.Y.2d 748 (1963)
Oscar Appel et al., Respondents,
v.
Rhoda Root, Appellant.
Court of Appeals of the State of New York.
Argued May 8, 1963.
Decided June 6, 1963.
Joseph S. Catalano and James A. Doherty for appellant.
Paul Gewurz for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE, FOSTER and SCILEPPI. Judge VAN VOORHIS dissents and votes to reverse and to deny the motion for summary judgment upon the ground that a triable issue is presented.
Order affirmed, with costs. Question certified answered in the affirmative. No opinion.
